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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


SUZANNE CARNES,                         )
                                        )
                    Plaintiff,          )
                                        )      Civil Action No. 1 :19-CV-4171-11:HC
             v.                         )
                                        )
FANNIE'S INC.,                          )
                                        )
                    Defendant.          )
                                        )


       JOINT MOTION FOR APPROVAL OF FLSA SETTLEMENT AND
               MEMORANDUM IN SUPPORT THEREOF


      Plaintiff Suzanne Carnes ( "Plaintiff'') and Defendant Fannie's, Inc. (

"Defendant") file this motion seeking approval of a settlement1 reached between

Plaintiffs and Defendant ( collectively, the "Parties"). This motion is also based upon

the record of this case and the proceedings herein.

      The Parties jointly request that the Court enter an Order approving the

settlement reached between the Parties as a fair resolution of their bona fide dispute




1
  This settlement is part of a joint settlement reached after mediation before
Magistrate Judge Baverman in the companion case of Cristina Kellogg v. Fannie's
Inc. and William H. "Brian" Parks, Case No. 1:18-cv-011929-MHC (the "Related
Case"),
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regarding the amount Plaintiff is entitled to under the FLSA. The Parties' settlement

is a product of arm's-length negotiations during a court sponsored mediation

between the Parties and their experienced counsel in this and the Related Case. The

Parties respectfully submit that the settlement is fair, reasonable, and consistent with

the intent and purpose of the FLSA and the requirements of Lynn's Food, and that

all of the relevant criteria support approval of the settlement. A copy of the

Settlement Agreement, Waiver and Release setting forth all of the terms of the

settlement is attached hereto as Exhibit "A".

   I.       BACKGROUND

        On September 16, 2019, Plaintiff filed a complaint [Doc. 1] alleging

violations of the minimum wage and overtime provisions of the Fair Labor Standards

Act ("FLSA"), 29 U.S.C. § 201 et seq. (the "Complaint"). Defendant timely filed

an answer and affirmative defenses to the Complaint and counterclaims against

Plaintiff for money had and received, unjust enrichment, and breach of contract.

[Doc. 6.]

        Plaintiff alleged in her Complaint that she worked for Defendant in the two

years preceding the filing of this action and contends that Defendant violated the

FLSA by failing to pay minimum wages and overtime wages. Plaintiffseeks the

following amounts for alleged unpaid wages, overtime, and "kickbacks": Plaintiff

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alleges she worked at Fannie's between February 1, 2017 and August 21, 2019 and

was entitled to recover $86,389.20;

         Defendant Fannie's acknowledges that Plaintiff worked at its club, but

contends that Plaintiff was not an "employee" within the meaning of the FLSA and

are therefore not protected by the FLSA. Even if she was an "employee," Defendant

Fannie's contends that Plaintiff was paid from service charges pursuant to 29 C.F.R.

§ 531.55, such that her actual compensation exceeded any minimum wage or

overtime obligations to which Plaintiff might have been entitled if she were a

statutory employee. Defendant Fannie's counterclaims seek a return of those service

charges in the event Plaintiff is reclassified as an employee.

         Throughout the pendency of this case, the Parties have engaged in arms-length

negotiations. Through these negotiations, the Parties have reached the settlement

outlined herein. As further set out below, the Parties state and agree that the terms

and conditions of this settlement are fair, reasonable, and in the best interest of the

Parties and are expressed in the Settlement Agreement, Waiver and Release attached

hereto as Exhibit "A".

   II.      Argument and Citation of Authority

         A. Legal Standards

         The Court must scrutinize the compromise of an FLSA action for fairness. If

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the settlement reflects a reasonable compromise over issues that are actually in

dispute, the Court may approve the settlement "in order to promote the policy of

encouraging settlement of litigation." Lynn's Food Stores, Inc. v. US. Dep 't of

Labor, 679 F.2d 1350, 1354 (11th Cir. 1982).

      In determining whether a settlement is fair and reasonable, courts have

considered factors such as: (1) the existence of fraud or collusion behind the

settlement; (2) the complexity, risk, expense, and likely duration of the litigation; (3)

the stage of the proceedings and the amount of discovery completed; (4) the strength

of the plaintiffs case and the probability of plaintiffs success on the merits; (5) the

range of possible recovery; and ( 6) the opinions of the counsel. See King v. My

Online Neighborhood, Case No. 6:06-cv-435-Orl-22JGG, 2007 WL 737575 (M.D.

Fla. March 7, 2007) (citingLeverso v. South Trust Bank ofAla., Nat. Assoc., 18 F.3d

1527, 1531 n.6 (11th Cir. 1994). "When considering these factors, the Court should

keep in mind the 'strong presumption' in favor of finding a settlement fair." Cotton

v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977)). Moreover, "a 'settlement is a

compromise, a yielding of the highest hopes in exchange for certainty and

resolution."' King, 2007 WL 737575 *3. In addition, the "FLSA requires judicial

review of the reasonableness of counsel's legal fees to assure both that counsel is

compensated adequately and that no conflict of interest taints the amount the

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wronged employee recovers under a settlement agreement." Silva v. Miller, 307 F.

App'x 349, 351 (11th Cir. 2009).

       B. The Settlement is a Fair, Just, and Reasonable Compromise of Disputed
          Claims.

       As set forth in the FLSA Settlement Agreement, Waiver and Release attached

hereto, the Parties propose to settle this litigation and the Related Case for the total

sum of $175,000, including $121,250 in attorney's fees and costs, and $43,750

payable to Plaintiff and $10,000 payable to the plaintiff in the Related Case. The

settlement payments shall be made to Plaintiffs counsel who shall distribute the

proceeds to itself, Plaintiff and the plaintiff in the Related Case.

      The recovery in this case represents approximately 50% of Plaintiffs own

estimation of their maximum possible recovery. The Parties have agreed to resolve

this case because the settlement reflects a reasonable compromise of the Parties'

disputed issues and any actual or potential claims. In addition, the Parties believe

that the certainty of settlement is far better than the uncertain outcome of a lengthy

trial and Plaintiffs ability to collect on any potential judgment given the impact of

the pandemic and Covid-19.

      If Plaintiff was successful on her claims, Defendant could be held liable for

minimum wages and any overtime wages which Plaintiff could prove were owed at

trial plus attorneys' fees and costs in this case. Even if Plaintiff was successful in
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her claims, Defendant Fannie's counterclaim could also be successful, resulting in

an award substantially offsetting any award for Plaintiff.        If Plaintiff was not

successful, she would receive no recovery of any kind, could have to pay certain

costs, and could still face liability on Defendant Fannie's counterclaims.

      In reaching this settlement, the Parties gave due consideration to the range of

possible awards for hourly compensation. Moreover, the economic effects of the

pandemic were also factors leading to the resolution of this case.

      The settlement amount reflects a fair and reasonable compromise of the

disputed issues, while avoiding the risks oflitigation, including Defendant Fannie's

counterclaim and the possibility that Plaintiff will be unsuccessful. Moreover,

Plaintiff will avoid the risks and costs inherent in collection of any potential

judgment.    Although Plaintiff contends that she is entitled to more, they

acknowledges the risks and uncertainties of further litigation and, in particular, the

difficulty in proving her potential damages and collecting on any potential judgment.

      In light of these facts, the uncertainty of trial, and the potential counterclaims

and costs Plaintiff may face if this case is not settled, the Parties believe that the

settlement is fair and reasonable. Given these circumstances, a presumption of

fairness should attach to the proposed settlement.         Lynn, 679 F.2d at 1354




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(recognizing that courts rely on the adversary nature of a litigated FLSA case

resulting in settlement as an indication of fairness).

       Moreover, the endorsement of the settlement by counsel for the Parties is a

"factor that weighs in favor of approval" of an FLSA settlement because "counsel

for each side possessjes] the unique ability to assess the potential risks and rewards

of litigation." Quintanilla v. A&R Demolition, Inc., 2008 WL 9410399, at *5 (S.D.

Tex. May 7, 2008). Here, Plaintiff's' experienced FLSA counsel is fully aware of

the applicable law, Plaintiff's factual contentions and the evidence supporting same

and is in the best position to evaluate whether this settlement produces fair results

after consideration of risks. Plaintiff's counsel has concluded that Plaintiffs'

settlement with Defendant is fair, reasonable, adequate, and in Plaintiff's best

interests.

       The Court should also approve the settlement because the Parties engaged in

arms-length settlement negotiations and were able to reach an agreement to resolve

this matter through negotiations between their respective counsel. Courts have

found no fraud or collusion where both parties were represented by counsel and the

amount to be paid to the plaintiff seemed fair. See Helms v. Central Fla. Reg. Hosp.,

No. 6:05-cv-383-Orl-22JGG, 2006 U.S. Dist. LEXIS 92994, at * 11-12 (M.D. Fla.

Dec. 21, 2006). Here, each Party was independently represented by counsel with

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expenence m litigating claims under the FLSA, and each counsel vigorously

represented their clients' interests.

       Lastly, the Parties submit that the total attorneys' fees and costs amount of

$121,250 to Plaintiff's counsel in this and the Related Case is reasonable given the

amount of time and effort expended on this case. Plaintiff's counsel conducted

preliminary investigation of Plaintiff's claims, drafted the Complaint, participated in

the drafting of the Joint Preliminary Report and Discovery Plan, and engaged in

settlement negotiations.

   III.     Conclusion

      The settlement in this case is the product of contested litigation, Plaintiff is

represented by competent and experienced counsel, and the settlement reflects a

reasonable compromise over disputed issues. The Parties therefore respectfully

submit that the settlement is fair and reasonable and consistent with the intent and

purpose of the FLSA and the requirements of Lynn's Food, and that all of the

relevant criteria support approval of their settlement.

      For these reasons, the Parties respectfully request that this Court approve

Plaintiff's settlement as set forth in the Settlement Agreement, Waiver and Release

attached hereto as Exhibit "A" and administratively close this case until Plaintiff

receives the full settlement payment from Defendant. On or before ninety-one (91)

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days after the full settlement payment is received, the Parties will file a stipulation

of dismissal with prejudice or a status report regarding the settlement, with the right

of any party to reopen the case if the settlement is not consummated.

      This the 9th day of February 2021.

DELONG, CALDWELL, BRIDGERS,                  SCHREEDER, WHEELER & FLINT, LLP
FITZPATRICK & BENJAMIN, LLC

sl Kevin D. Fitzpatrick, Jr.                 s/ John A. Christy
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                        EXHIBIT "A"




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                                   FLSA Settlement Agreement, Waiver and Release



                       This Settlement Agreement, Waiver and Release (the "Agreement") is

              entered into and executed as of this             9:0- day of February 2021   by and between

              Cristina Kellogg and Suzanne B. Carnes (collectively, "Plaintiffs") and Defendant

              Fannie's, Inc. (the "Defendant" and together with the and Plaintiff are collectively

              referred to as the "Parties" and each a "Party"). The Agreement was presented to

              Plaintiffs and their counsel on February             9 ¾'021, and, after careful review and
              consideration of the entire Agreement, Plaintiffs initialed each of the pages of the

              Agreement and signed the Agreement as of the date hereof.

                                                              RECITALS

            A.       Plaintiffs have asserted claims that they were entitled to certain payments to

            compensate for work performed, including wages at the minimum-wage rate and

            applicable overtime rates pursuant to the Fair Labor Standards Act of 1938, 29

            U.S.C. § 201 et seq. ("FLSA") and other relief (the "Claim").

            B.       Plaintiffs are each a plaintiff in civil actions styed Cristina Kellogg v.

            Fannie's, Inc. et. al., Case No. 1:19-cv-01929-Ivfl--IC and Suzanne R. Carnes. v.

            Fannie's, Inc. et. al., Case No. 1:19-cv-04171-MHC filed in the United States


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            District Court for the Northern District of Georgia, Atlanta Division ( together the

            "Lawsuits").

            C.       In response, the Defendant answered the Lawsuits, asserted counterclaims

            against the Plaintiffs and carefully reviewed the Claim and determined that there is

            a dispute as to the accuracy of Plaintiffs' contentions regarding (a) the nature of

            Plaintiffs' relationship as independent contractors of Defendant; (b) the time

            worked by Plaintiffs and amount of back wages due; and ( c) other elements of the

            Claim.

            D.      The Parties agree that it is in their best interest to resolve Plaintiffs' Claim

            because: (1) the Parties have a bona fide dispute as to the amount of hours worked

            by, and amount of compensation due to, Plaintiffs; (2) this settlement and

           compromise does not result in payment to Plaintiffs of less than minimum wages or

           less than the statutory overtime rate due, and represents full compensation of all

           amounts owed to Plaintiffs; and (3) the Company has not obtained Plaintiffs'

           agreement to the Agreement through fraud or duress.

           E.       The Parties have negotiated a settlement in good faith after court sponsored

           mediation before Magistrate Baverman and are entering into this Agreement for the

           purposes of settling, compromising and resolving any and all claims Plaintiffs

           brought or could have brought against Defendant in the Lawsuits.

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               F.       Plaintiffs, after review and consultation with Plaintiffs' counsel, and

               Defendant have decided to full and final settlement of the Claim and the Lawsuits,

               which settlement is not a compromise of guaranteed FLSA substantive rights. The

               Parties now want to settle all disputes, claims, and controversies arising out of the

               Claim and any other claims and concerns that Plaintiffs have or may have relating

               to their work with Company through the date of this Agreement.

                        NOW THEREFORE, in careful review and consideration of the promises and

               releases made here, Plaintiffs and Defendant agree to the following fair and

               reasonable resolution of their present bona fide dispute over FLSA coverage,

                classification of Plaintiffs, and computation of back wages and other claims asserted

                in the Lawsuits:

                         Upon Defendant's receipt of a fully executed original of this Agreement, the

                 Parties will file a Joint Motion for Approval of Settlement of the Lawsuits, seeking

                 the Court's approval of this Settlement Agreement and dismissal of the Lawsuits

                 and Defendant's counterclaims with prejudice. The Parties will cooperate and take

                 all necessary steps to effect final judicial approval of this Agreement and dismissal

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                 right to appeal and agree not to appeal the order approving the settlement The

                 Parties expressly agree that the terms of this Agreement are fair and equitable, and

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             to the extent that Plaintiffs' Counsel is required to petition the Court for approval

             of the reasonableness and amount of its attorneys' fees and costs to be paid under

             this Agreement, Defendant does not oppose and agree not to oppose the amount

             (or the reasonableness of the amount) of Plaintiffs' attorneys' fees to be paid to

             Plaintiff's counsel out of the total Settlement Payment.         If this Settlement

             Agreement is not approved by the Court in the Lawsuits within ninety (90) days

             from its execution by Plaintiffs, this Agreement may be declared null and void by

            the Defendant at its sole option

                     1. Settlement Payment.

                     The Defendant shall pay Plaintiffs $175,000 (the "Settlement Payment")

            allocable $121,250 to Kevin D Fitzpatrick, Jr. ("Counsel") for attorney's fees and

            costs, $10,000 to Cristina Kellogg and $43,750 to Suzanne R Carnes.                The

            Settlement Payment shall be paid as follows: (a) $10,000 on or before the later of

            February 15, 2021 or the entry of an order approving this Agreement; (b) $2,000

            on March 15, April 15, May 15, June 15 and July 15, 2021; and (c) thereafter,

            $155,000 together with interest at five (5) per cent per annum payable at the rate

         1of $5,000 per month beginning on the latter of August 15, 2021 or the 15      th
                                                                                             day of

            the first month after which the applicable governmental jurisdictions allow

           occupancy at the premises from which Defendant operates its business to 70% or

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             more of the maximum allowable occupancy permitted by the applicable fire

             marshal. Payments shall be suspended for the length of time period in which

             occupancy may subsequently be reduced below 70%. If any payment is not timely

             made and such default is not cured within then (10) days of Defendant's receipt of

             notice of default from Plaintiff, then all remaining amounts hereunder shall be

             immediately due and payable. Plaintiffs knowingly and voluntarily acknowledge

             and agree that acceptance of the Settlement Amount satisfies, discharges, and

             releases their Claim, as well as all other claims or causes of action arising under or

             pursuant to the FLSA, and their claims in the Lawsuits, known or unknown,

             asserted or unasserted, as of the date. of this Agreement. Plaintiffs understand that

             this Agreement waives and releases any and all actual or potential claims, including

             employment discrimination and compensation related claims, but does not release

             any claims arising after they sign the Agreement. Plaintiffs understand that they can

             consult with any advisor of their choice, including an attorney, before signing this

             Agreement

                     2.         Voluntary Nature of Agreement.

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             an act of their own free will; that they are of sound mind; and that they are laboring

             under no physical, psychological or mental infirmity which would affect either

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             their capacity to understand the terms of this Agreement or to freely enter into and

             be bound by the provisions of this Agreement. Plaintiffs acknowledge that, upon

             receipt of the Settlement Amount, they will have received full payment for all work

             performed through their last day of employment with Defendant and that they have

             no outstanding claims for any unpaid wages, salary, commissions, bonuses, expenses,

             vacation or sick leave reimbursements, or travel expenses.

                     3.        Careful Review by Plaintiffs.

                     Plaintiffs represent that they fully understand their rights to discuss all

             aspects of this Agreement with an attorney of their choice, that Defendant has

             recommended that they conduct their own careful review and analysis of the Claim

             and discuss it with their personal advisors, including Counsel, who is an attorney

            of their choice in the Lawsuits. Plaintiffs states that they know they can avail

            themselves of this right and opportunity, that they have carefully read and fully

            understand all of the provisions of this Agreement, and that they have had adequate

            time to review and consider this Agreement.

                    Plaintiffs acknowledge and agree that in signing this Agreement they do not

            rely, and have not relied, upon any representation or statement made by Defendants

            with regard to the terms or effect of this Agreement.

                    Plaintiffs further acknowledge and agree that in the event they perform

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             further work for or on behalf of Defendants, that they may not be treated for tax

             purposes as employees, but as independent contractors. This Agreement does not

             affect the rights and responsibilities of the Equal Employment Opportunity

             Commission (the "Commission") or the Department of Labor ("DOL ") to enforce

             the Age Discrimination in Employment Act of 1967, Title VII of the Civil Rights Act

             of 1964, the Age Discrimination Act of 1975, the Equal Pay Act, the FLSA, the

             Genetic Information Nondiscrimination Act, or the Uniformed Services Employment

             and Reemployment Rights Act and will not be used to impede or interfere with (1)

             Claimant's protected right to file a charge, testify, assist or participate in an

             investigation or proceeding conducted by the Commission, the DOL, or any other

             governmental agency dealing with employment issues; or (2) the Commission's

             investigative or enforcement efforts. Plaintiffs retain the right to communicate with

             the Commission and comparable state or local agencies, whether such

             communication be initiated by Plaintiffs or any government agencies, bodies, or

             officials, and Plaintiffs are not limited by any non-disparagement or confidentiality

             obligations under the Agreement from taking any such actions.

               ·------ 4. ----------·-No Other Claims.·---- ----· ·- -· ·· -· - ·--------- - - ------·   ····-·--·------- ·-

                      Plaintiffs, collectively and individually, represent that they have not filed,

             or advocated that others file, any complaints, charges, proceedings, or lawsuits

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             against Defendant with any governmental agency, court, or private arbitration

             association based on employment at or with Defendant or on events that have

             occurred on or before the date of this Agreement, and further that they will not do

             so at any time hereafter regarding the Claim; provided, however, that this shall not

             limit Plaintiffs from enforcing their rights under this Agreement or their right to

             file any claim, Lawsuits, or proceeding regarding events occurring after the date

             of this Agreement.

                     5.        Taxes and Documentation.

                    Fannie's, Inc. will issue the following tax documents in connection with the

            Settlement Amount:

                     a. IRS Form 1099-MISC to Plaintiff Kellogg in the amount of $10,000            1/
                          designated as Box 3 "other income";

                    b. IRS Forms 1099-MISC to Plaintiff Carnes in the amount of$10,000 plus ~

                          $1,325.76 for each monthly payment made after July 15, 2021,

                          designating such funds as Box 3 "other income";

                    c. IRS Forms 1099 to Kevin D. Fitzpatrick, in the amount of $3,674.24 for

                          each monthly payment made after July 15, 2021/

                   Plaintiffs and Counsel will each deliver an IRS Form W-4 to Fannie's, Inc.

           upon execution of this Agreement. Plaintiffs acknowledge and agree that this

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             payment shall be reported by Fannie's, Inc. to the Internal Revenue Service, the

             Georgia Department of Revenue, and any other appropriate state and local revenue

             agencies and Plaintiffs are solely responsible for payment of all taxes due upon

             such amounts.

                             6 Non-Disparagement.

                     (a) Plaintiffs will take no actions and make no statements, written or oral,

                         expressed or implied, personally or through social media, which are in any

                         manner disparaging toward the Fannie's, Inc., or the released parties.

                     (b )Fannie's, Inc. will take no actions and make no statements, written or oral,

                         expressed or implied, personally or through social media, which are in any

                         manner disparaging toward any of the Plainitffs.

                     ( c) For purposes of this Agreement, "disparaging" means publicly or privately

                         belittling, discrediting, or denigrating the other Party and/or its officers,

                         directors, owners, employees, or agents.

                             7 Prevailing Party.

                     In the event of a breach of any of the terms of the Agreement by either or both

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           shall be entitled to recover all costs and expenses, including reasonable attorneys'

           fees, incurred in enforcing any rights hereunder.

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                       8.       Full and Complete Release.

                      Plaintiffs, on behalf of themselves, their heirs and personal representatives,

              waive all claims and causes of action against, and release and discharge, Defendant

              and its corporate affiliates, predecessors, successors, officers, directors, agents,

              employees, representatives, shareholders, managing members, responsible and

              control parties, insurers, accountants and attorneys including William H. Parks ( the

             "Released Parties") from the Claim and any and all claims, actions and causes of

             action, demands, damages, or suits of any kind or nature whatsoever, whether they

             sound in equity, law, tort or contract, including but not limited to those arising out

             of her employment or the termination of her employment with Fannie's; Inc., any

             claims asserted or which could have been asserted by Plaintiffs in the Lawsuits, or

             any act.or omission of the Released Parties, whether known or unknown, occurring

             at any time on or before the effective date of this Agreement. Plaintiffs further

             waive and release all claims arising out of any applicable local, state or federal

             employment laws and discrimination statutes or regulations, including those

             arising under 26 U.S.C.§ 7434, the Age Discrimination in Employment Act of

             1967, as amended, and the Older Workers Benefit Protection Act, 29 U.S.C. §

            626(±) et. seq., and including but not limited to any claim under Title VII ofthe


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             Civil Rights Act, the Americans with Disabilities Act, the Equal Pay Act, the

             federal Family and Medical Leave Act, the Fair Labor Standards Act, the Worker

             Readjustment Retraining and Notification Act, the National Labor Relations Act,

             the Fair Credit Reporting Act, the Occupational Safety and Health Act, the Genetic

             Information Non-Discrimination Act, and any state or local laws relating to or

             arising out of their employment and all other common law claims, state and federal

             statutes and laws of contract and tort, including any claims for commissions, and

             any claims for attorney's fees or costs. It is the intention of the Parties that no

             claims intended to be released hereby have been through oversight or en-or,

             intentionally or unintentionally, omitted from this release. Plaintiffs further

             represent and warrant to the Released Parties as a material term of this Agreement

             that they have not pledged, assigned or conveyed any portion of the claims being

             released. This release shall be effective ninety one (91) days after the receipt of the

             last installment of the Settlement Payment provided the Fannie's, Inc. is not then

             a debtor in a case under Title 11 of the United States Code and so long as Plaintiff

             tender back so much of the Settlement Payment as has been paid to them.

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             liability, obligation or duty to Plaintiffs other than as expressly stated herein. It is

             the intention of Plaintiffs that this release shall encompass all presently existing

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              claims (other than claims which cannot be waived by operation of law), whether

             known or unknown, including those unintentionally omitted from the terms of this

             release. It is the intention of Plaintiffs that this release shall constitute a release

             from liability for any claims which may already exist, but which are unknown to

             or undiscovered by Plaintiffs. This is not a release of claims that may arise after the

             date this Agreement is executed. This waiver is not a mere recital; but is a known

             waiver of rights and benefits. This is a bargained-for provision of this Agreement

             and further consideration for the covenants and conditions contained herein.

                      9.        Non-Admission of Liability.

                     The Defendant denies that the Plaintiffs were employees but were at all

            times independent contractors. This Agreement does not constitute an admission

            by Defendant of any violation of federal, state, or local law, or any ordinance or

            regulation, or of any liability or wrongdoing whatsoever. Thus, neither this

            Agreement nor anything stated in this Agreement shall be construed to be, or

            admissible in any proceeding as, evidence ofliability or wrongdoing by Defendant,

            or any of the Released Parties or any of their agents.

                     10.       Governing Law.

                     This Agreement shall be interpreted, enforced, and govemed under the laws

            of the State of Georgia, without regard to its conflicts of law rules.

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                         11.       Entire Agreement.

                         This Agreement constitutes the entire agreement between the Parties and

                 supersedes any and all other agreements, understandings, or promises, either oral

                 or in writing, between the Parties. In this Agreement, the use of the pronoun "he"

                 or "she" may be used interchangeably but shall conform to the gender of the

                Plaintiffs.

                          12.       Binding Nature of Agreement.

                         The Parties intend and agree that all of the terms, covenants, conditions and

                provisions of this Agreement will be valid and enforceable to the fullest extent

                permitted by law, and that the rule of construction which provides that the

                 document is construed against the drafter thereof shall be inapplicable in the

                 construction of this Agreement. The Recitals are material to this Agreement and

                 are incorporated herein as part of the Agreement.

                         Plaintiffs have carefully read and considered this Agreement and accept and

                 agree to its provisions and the releases and waivers given and hereby execute it

                 voluntarily with full understanding of its consequences, by signing below and by

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                          13.       Execution.

                          This Agreement may be executed in one or more counterparts each of which

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              when so executed shall be deemed an original and all such counterparts together

              shall constitute but one and the same instrument, and shall be fully effective as if

             signed by all parties whether or not the signatures of all the parties appear on the

             original or any one copy of the Agreement. Signatures transmitted or delivered by

             email or facsimile shall be acceptable and shall have the same force and effect as

             if containing an original signature.

                     IN WITNESS WHEREOF, the parties have signed and sealed this

             Agreement as of the year and date above written.


                    ~w
           FANNIE'S, INC.

           By:                                   _

           Its:                                   _




                                                              Page -14-
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 when so executed shall be deemed an original and all such counterparts together

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 original or any one copy of the Agreement. Signatures transmitted or delivered by

 email or facsimile shall be acceptable and shall have the same force and effect as

 if containing an original signature.

          IN WITNESS WHEREOF, the patties have signed and sealed this

 Agreement as of the year and date above written.



CRISTINA KELLOGG




SUZANNE R. CARNES


FANNIE'S, INC.

By:    At1rhe!J/
Its:    6'e,rte,lct   r



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            STATEMENT OF COMPLIANCE WITH FONT SIZE

      I hereby certify that the foregoing JOINT MOTION FOR APPROVAL OF

FLSA SETTLEMENT AND MEMORANDUM OF LAW IN SUPPORT

THEREOF has been prepared with 14-Point Times New Roman font, which is one

of the font and point selections approved by the Court in LR 5.lC, N.D. Ga.

      This the 9th day of February 2021.

                                            Isl John A. Christy
                                            JOHN A. CHRISTY
                                            GeorgiaBarNo. 125518
                                            Attorney for Fannie's, Inc.

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Email:      jchristy@swfllp.co
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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed JOINT MOTION FOR

APPROVAL OF FLSA SETTLEMENT AND MEMORANDUM OF LAW IN

SUPPORT THEREOF with the Clerk of Court using the CM/ECF system, which

will automatically send email notification of such filing to the following attorneys

of record:

      Matthew W. Herrington
      Charles R. Bridgers
      Kevin D. Fitzpatrick, Jr.
      101 Marietta Street NW
      Suite 2650
      Atlanta, GA 30303


      This the 9th day of February 2021.


                                             Isl Jonathan A. Akins
                                             JOHN A. CHRISTY
                                             Georgia Bar No. 125518
                                             JONATHAN A. AKINS
                                             Georgia Bar No. 472453
                                             Attorney for Defendant Fannie's, Inc.
